Case 4:21-cv-05095-SAB                           ECF No. 1-5                  filed 06/21/21                PageID.67 Page 1 of 2




                                                                                                              RaboAgriFinance
                                                      Rabo AgriFinance
                                              A member of the Rabobank Group
                                           PO Box 411995 - Saint Louis - MO - 83141
                                      Telephone (314) 317 8000 - Facsimile (877) 655 9514
                                                       www.RaboAg.com

   03/19/2021

   3E Properties
   CIO Mike Hayes
                                                                              Obligation No.               - 3E Properties 9769




   Dear Client:

   The following statement is the amount required to repay the above loan as of 03/18/2021. Please note that
   interest accrues until funds are received in our National Servicing Center.

                  Principal Balance                         as of 03/18/2021                                       $437,990.25
                  Interest on Principal                     to 03/18/2021                                            $4,440.66
                  Legal Fees                                                                                           $363.43
                  Interest on Legal Fees                                                                                 $3.14
                  Prepayment Fee                                                                                    $33,832.07
                  Default Interest                                                                                  $11,943.60
                  Total Due                                                                                        $488,573.15



                  Per Diem for receipt of funds after 03/18/2021 is $180.45. These repayment figures will not be
                  valid after 03/25/2021. The agreement requires a Treasury Rate lookback 5 days prior to payoff.



   The documents will be available for delivery following receipt of certified funds. There will be a delay in forwarding
   documents for other than certified funds.

   Questions regarding the repayment of your loan should be directed to Customer Connect toll free at (855) 722-7766 or
   at CustomerConnect@RaboAg.com.

   Please return your payment with a copy of this letter. To ensure timely delivery of funds, we suggest wired funds.
   Please contact your Relationship Manager, listed above for instructions. Checks should be mailed to Rabo AgriFinance,
   PO Box 790077, St Louis, MO 63179-0077.

                                                            Sincerely,

                                                             c>,(kik
                                                            Rabo AgriFinance
                                                            National Servicing Center




                                                                     ***IMPORTANT***
       These figures are subject to final verification upon actual receipt of funds by the Note Holder. Note Holder reserves the right to adjust these
    figures and (a) negotiate funds as received and request additional funds, (b) refund excess funds remitted or (c) refuse funds as appropriate to
      the circumstances thereof. These circumstances may be, but are not limited to, an error in the calculation of the payment amount, previously
   dishonored remittances or additional disbursements made by this Note Holder between the date of this statement and the actual receipt of funds.




                                                                                                                                                           Exhibit E
                                                                                                                                                         Page 1 of 2
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                                                                                                              Rabo AgriFinance
                                                       Rabo AgriFinance
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                                           PO Box 411995 - Saint Louis - MO - 63141
                                      Telephone (314) 317 8000 - Facsimile (877) 655 9514
                                                       www.RaboAg.com

   03/18/2021

   Easterday Farms Produce, Co.
   CIO Mike Hayes
                                                          Obligation No.               - Easterday Farms Produce, Co. 9752




   Dear Client

   The following statement is the amount required to repay the above loan as of 03118/2021. Please note that interest
   accrues until funds are received in our National Servicing Center.

                 Principal Balance                           as of 03/18/2021                                       $800,000.00
                 Interest on Principal                       to 03/1812021                                            $5,560.87
                 Legal Fees                                                                                           $1,069.07
                 Interest on Legal Fees                                                                                   $8.18
                 Default Interest                                                                                    $25,104.17
                 Total Due                                                                                           $831,742.29

                 Per Diem for receipt of funds after 03/18/2021 is $292.92. These repayment figures will not be
                 valid after 04/01/2021 or if there are additional payments or advances made on this line of credit.
                 This loan is tied to a monthly rate change.

   The documents will be available for delivery following receipt of certified funds. There will be a delay in forwarding
   documents for other than certified funds.

   Questions regarding the repayment of your loan should be directed to Customer Connect toll free at (855) 722-7766 or
   at CustomerConnect@RaboAg.com.

   Please return your payment with a copy of this letter. To ensure timely delivery of funds, we suggest wired funds.
   Please contact your Relationship Manager, listed above for instructions. Checks should be mailed to Rabo AgriFinance,
   PO Box 790077, St Louis, MO 63179-0077.
                                                             Sincerely,

                                                                   042.

                                                             Rabo AgriFinance
                                                             National Servicing Center




                                                                      ***IMPORTANT***
        These figures are subject to final verification upon actual receipt of funds by the Note Holder. Note Holder reserves the right to adjust these
     figures and (a) negotiate funds as received and request additional funds, (b) refund excess funds remitted or (c) refuse funds as appropriate to
       the circumstances thereof. These circumstances may be, but am not limited to, an error in the calculation of the payment amount, previously
    dishonored remittances or additional disbursements made by this Note Holder between the date of this statement and the actual receipt of funds.




                                                                                                                                                            Exhibit E
                                                                                                                                                          Page 2 of 2
